927 F.2d 595Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY, Plaintiff-Appellant,v.Ms. HARMOND, Individually, and as a Nurse assigned to theCorrectional Training Center at Hagerstown, Maryland,Patalinghug, Individually, and as a Physician with theChesapeake Medical Association and assigned to theCorrectional Training Center at Hagerstown, Maryland, SarahPrintz, Individually, and as a former Nurse assigned to theCorrectional Training Center, located at Hagerstown,Maryland, Japzon, Individually, and as a Surgeon assigned tothe Washington County General Hospital located atHagerstown, Maryland, Defendants-Appellees.
    No. 90-7148.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 25, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-84-3308)
      Aaron Holsey, appellant pro se.
      Audrey J.S. Carrion, Office of the Attorney General of Maryland, Baltimore, Md., Philip Sturman, Columbia, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Aaron Holsey appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Holsey v. Harmond, CA-84-3308 (D.Md. Aug. 2, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  Holsey's request for appointment of counsel is denied.
    
    
      2
      AFFIRMED.
    
    